,.
     Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 1 of 19 PageID #: 148




     RTP:MWG
     F. #202 1R00179

     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ---------------------------X

     UNITED STATES OF AMERICA                              INDICTMENT
                                                                    1:22-cr-00087(DG)(SJB
           - against -                                     Cr. No. - - - - - - - - - -
                                                           (T. 18, U.S.C., §§ 981(a)(l)(C),
     ROMEAN BROWN,                                          982(a)(2)(B), 982(b)(l), 1028A(a)(l),
     TYREK CLARKE,                                          1028A(b), 1028A(c)(4), 1028A(c)(5),
     KENNITH DESIR,                                         1029(a)( 5), 1029(b)(2),
     STEPHAN DORMINVIL,                                     1029(c )(1 )(A)(ii), 1029(c)(1 )(C),
     KAI HEYWARD,                                           1029(c)(2), 1349, 2 and 3551 et~.;
     KEITH JAMES,                                           T. 21, U.S.C., § 853(p); T. 28, U.S.C.,
     CHRISTOPHER JEAN PIERRE,                               § 2461(c))
     ONEAL MARKS,
     JAHRIAH OLIVIERRE,
     ROLEEKE SMITH and
     CHRISTOPHER TOPEY,

                            Defendants.

     ---------------------------X

     THE GRAND JURY CHARGES:

                                          INTRODUCTION

                   At all times relevant to this Indictment, unless otherwise indicated:

     I.     The New York State Unemployment System and Pandemic Unemployment
            Assistance

                   1.     The United States Social Security Act established a federal and state

     unemployment insurance ("UI") system designed to provide benefits to unemployed people.

     Each state administered a separate UI program with guidelines established by federal law.

     The United States Department of Labor exercised general oversight over the UI program. In

     New York, the New York State Department of Labor ("NYS-DOL") operated the
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 2 of 19 PageID #: 149


                                                                                                2


unemployment system and distributed UI benefits through the New York State

Unemployment Insurance Fund ("NYSUIF").

              2.      On March 13, 2020, the President of the United States declared that the

ongoing Coronavirus Disease 2019 ("COVID-19") pandemic was of sufficient severity and

magnitude to warrant an emergency declaration for all states, tribes and territories, and the

District of Columbia, pursuant to Section 501 (b) of the Robert T. Stafford Disaster Relief

and Emergency Assistance Act, 42 U.S.C. §§ 5121-5207 (the "Stafford Act").

              3.      On March 18, 2020, the President of the United States signed the

Families First Coronavirus Response Act ("FFCRA") into law. The FFCRA provided

additional flexibility for state UI agencies and additional administrative funding to respond to

the COVID-19 pandemic.

              4.      On March 27, 2020, the Coronavirus, Relief, and Economic Security

("CARES") Act was signed into law. It expanded states' ability to provide UI for many

workers impacted by COVID-19, including for workers not ordinarily eligible for UI

benefits. The CARES Act created several new programs, including Pandemic

Unemployment Assistance ("PUA") and Federal Pandemic Unemployment Compensation

("FPUC").

              5.      PUA provided for up to 39 weeks of benefits to individuals who were

self-employed, seeking part-time employment or who otherwise would not qualify for

regular UI or extended benefits under state or federal law or Pandemic Emergency

Unemployment Compensation ("PEUC") under Section 2107 of the CARES Act. Coverage

included individuals who had exhausted all rights to regular UI or extended benefits under

state or federal law or PEUC. Under the PUA provisions of the CARES Act, a person who
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 3 of 19 PageID #: 150


                                                                                               3

was a business owner, self-employed worker, independent contractor or "gig" worker could

qualify for PUA benefits administered by NYS-DOL ifhe or she previously performed such

work in New York and was unemployed, partially unemployed, unable to work or

unavailable to work due to a COVID-19-related reason. A PUA claimant was required to

answer various questions to establish eligibility for PUA benefits. Claimants were required

to provide their name, date of birth, Social Security number and mailing address. Claimants

also were required to identify a qualifying occupational status and COVID-19-related reason

for being out of work. The eligible timeframe to receive PUA was from unemployment

beginning on or about January 27, 2020 through December 31 , 2020.

              6.     FPUC provided individuals who were collecting regular UI and PUA

benefits, among other forms of benefits, with an additional $600 of UI payments per week.

In New York, the eligible timeframe to receive FPUC was from unemployment beginning on

or about April 5, 2020 through July 26, 2020.

              7.     On August 8, 2020, the President of the United States signed a

Presidential Memorandum authorizing the Federal Emergency Management Agency

("FEMA") to use disaster relief funds pursuant to Section 408 of the Stafford Act to provide

supplemental payments for lost wages and to help ease the financial burden on individuals

unemployed as a result of COVID-19. These supplemental payments were administered

through the Lost Wages Assistance Program ("L WAP"), which served as a temporary

measure to provide an additional $3 00 of UI payments per week for a total of $44 billion in

FEMA funds . LWAP was available beginning on or about August 1, 2020 through

December 27, 2020.
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 4 of 19 PageID #: 151


                                                                                                4

                8.     On December 27, 2020, the President of the United States signed the

Consolidated Appropriations Act, 2021 into law, which included the Continued Assistance

for Unemployed Workers Act of2020 (the "Continued Assistance Act"). The Continued

Assistance Act extended PUA benefits to March 14, 2021 and reauthorized and modified

FPUC to provide supplemental UI payments of $300 per week for the period on or about and

between December 26, 2020 and March 14, 2021.

                9.     There were two primary methods to file a claim for NYSUIF benefits:

online through the NYS-DOL website and by telephone through a NYS-DOL call center. If

the claim was accepted, the claimant was required to establish, on a weekly basis, his or her

continued eligibility for UI benefits. The claimant could complete this recertification by

answering a series of questions on the NYS-DOL website or through a NYS-DOL call

center.

                10.   KeyBank National Association ("KeyBank") was a bank headquartered

in Cleveland, Ohio. The NYS-DOL used KeyBank bank accounts to fund NYSUIF

benefits. Key Bank issued some claimants debit cards to which NYSUIF benefit payments

were credited. Other claimants acquired reloadable cards issued by different banks and

provided the information for the reloadable cards through the NYS-DOL website, which

cards were then loaded with NYSUIF benefit payments. Other claimants had NYSUIF

benefits directly deposited into personal bank accounts.

II.       The Defendants' Fraudulent Scheme

                11.   In or about and between March 2020 and October 2021 , the defendants

ROMEAN BROWN, TYREK CLARKE, KENNITH DESIR, STEPHAN DORMINVIL,

KAI HEYWARD, KEITH JAMES, CHRISTOPHER JEAN PIERRE, ONEAL MARKS,
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 5 of 19 PageID #: 152


                                                                                                5

JAHRIAH OLIVIERRE, ROLEEKE SMITH and CHRISTOPHER TOPEY, together with

others, submitted and caused to be submitted nearly 1,000 fraudulent claims to the NYS-

DOL for NYSUIF benefits using the personal identifying information ("PII"), including

names, dates of birth and Social Security numbers, of more than 800 real individuals (the

"Victims"), whose identities are known to the Grand Jury.

               12.    Using the Victims' PII, the defendants ROMEAN BROWN, TYREK

CLARKE, KENNITH DESIR, STEPHAN DORMINVIL, KAI HEYWARD, KEITH

JAMES, CHRISTOPHER JEAN PIERRE, ONEAL MARKS, JAHRIAH OLIVIERRE,

ROLEEKE SMITH and CHRISTOPHER TOPEY, together with others, created or caused to

be created fraudulent NYS-DOL UI benefits accounts in the Victims ' names, and thereby

caused NYS-DOL to load benefit funds onto KeyBank debit cards in the names of the

Victims. The mailing addresses associated with the accounts, which were provided by the

defendants and their co-conspirators, were not the Victims ' true addresses, but were instead

addresses controlled by the defendants and their co-conspirators, including residences of the

defendants located in the Eastern District of New York and elsewhere. Therefore, KeyBank

sent debit cards in the Victims' names, via the United States mail, to the defendants and their

co-conspirators.

              13 .    The defendants ROMEAN BROWN, TYREK CLARKE, KENNITH

DESIR, STEPHAN DORMINVIL, KAI HEYWARD, KEITH JAMES, CHRISTOPHER

JEAN PIERRE, ONEAL MARKS, JAHRIAH OLIVIERRE, ROLEEKE SMITH and

CHRISTOPHER TOPEY, together with others, used the KeyBank debit cards bearing the

names of the Victims to withdraw U.S. currency from ATM machines located in the Eastern

District of New York and elsewhere.
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 6 of 19 PageID #: 153


                                                                                               6

               14.     The above-described fraudulent scheme resulted in an actual loss of

approximately $4,339,475.90 and an intended loss of approximately $20,992,365.00, the

latter of which includes additional claims filed by the defendants and their co-conspirators

that were blocked by NYS-DOL.

                                         COUNT ONE
                               (Mail and Wire Fraud Conspiracy)

               15.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               16.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants ROMEAN BROWN, TYREK CLARKE, KENNITH DESIR, STEPHAN

DORMINVIL, KAI HEYWARD, KEITH JAMES, CHRISTOPHER JEAN PIERRE,

ONEAL MARKS, JAHRIAH OLIVIERRE, ROLEEKE SMITH and CHRISTOPHER

TOPEY, together with others, did knowingly and intentionally conspire to:

                      (a)     devise a scheme and artifice to defraud the NYS-DOL, and to

obtain money and property from the NYS-DOL by means of one or more materially false

and fraudulent pretenses, representations and promises, and for the purpose of executing such

scheme and artifice, cause mail matter to be delivered by one or more mail and private and

commercial interstate carriers, according to the directions thereon, in relation to and

involving benefits authorized, transported, transmitted, transferred, disbursed and paid in

connection with, a presidentially declared emergency under the Stafford Act, to wit: the

COVID-19 pandemic, contrary to Title 18, United States Code, Section 1341; and
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 7 of 19 PageID #: 154


                                                                                                 7

               (b)     devise a scheme and artifice to defraud the NYS-DOL, and to obtain

money and property from the NYS-DOL by means of one or more materially false and

fraudulent pretenses, representations and promises, and for the purpose of executing such

scheme and artifice, transmit and cause to be transmitted by means of wire communication in

interstate commerce, one or more writings, signs, signals, pictures and sounds, in relation to

and involving benefits authorized, transported, transmitted, transferred, disbursed and paid in

connection with, a presidentially declared emergency under the Stafford Act, to wit: the

COVID-19 pandemic, contrary to Title 18, United States Code, Section 1343.

               (Title 18, United States Code, Sections 1349 and 3551 et seq .)

                                        COUNT TWO
                         (Conspiracy to Commit Access Device Fraud)

               17.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               18.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants ROMEAN BROWN, TYREK CLARKE, KENNITH DESIR, STEPHAN

DORMINVIL, KAI HEYWARD, KEITH JAMES, CHRISTOPHER JEAN PIERRE,

ONEAL MARKS , JAHRIAH OLIVIERRE, ROLEEKE SMITH and CHRISTOPHER

TOPEY, together with others, did knowingly and with intent to defraud, conspire to use, and

effect transactions with, one or more unauthorized access devices issued to one or more other

persons, to wit: debit cards, dates of births and Social Security numbers, in a manner

affecting interstate commerce, and by such conduct obtain and receive payments and things
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 8 of 19 PageID #: 155


                                                                                              8


of value aggregating $1,000 or more during any one-year period, contrary to Title 18, United

States Code, Sections 1029(a)(2) and 1029(a)(5).

              19.    In furtherance of the conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendants ROMEAN BROWN, TYREK

CLARKE, KENNITH DESIR, STEPHAN DORMINVIL, KAI HEYWARD, KEITH

JAMES, CHRISTOPHER JEAN PIERRE, ONEAL MARKS, JAHRIAH OLIVIERRE,

ROLEEKE SMITH and CHRISTOPHER TOPEY, together with others, did commit and

cause the commission of the following:

                                         OVERT ACTS

                     (a)    On or about November 12, 2020, JEAN PIERRE made a cash

withdrawal in the amount of approximately $180.00 from an ATM located in Brooklyn, New

York, using a Key Bank debit card issued in the name of one of the Victims.

                     (b)    On or about November 13, 2020, MARKS made a cash

withdrawal in the amount of approximately $1 ,000.00 from an ATM located in Brooklyn,

New York, using a Key Bank debit card issued in the name of one of the Victims.

                     (c)    On or about December 8, 2020, CLARKE made a cash

withdrawal in the amount of approximately $1 ,000.00 from an ATM located in Miami,

Florida, using a Key Bank debit card issued in the name of one of the Victims.

                     (d)     On or about December 29, 2020, TOPEY made a cash

withdrawal in the amount of approximately $400.00 from an ATM located in Brooklyn, New

York, using a Key Bank debit card issued in the name of one of the Victims.
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 9 of 19 PageID #: 156


                                                                                           9

                     (e)    On or about January 24, 2021, BROWN made a cash

withdrawal in the amount of approximately $1,000.00 from an ATM located in Redding,

Connecticut, using a Key Bank debit card issued in the name of one of the Victims.

                     (f)    On or about February 10, 2021, OLIVIERRE made a cash

withdrawal in the amount of approximately $100.00 from an ATM located in Miami, Florida,

using a Key Bank debit card issued in the name of one of the Victims.

                     (g)    On or about March 1, 2021 , DORMINVIL made a cash

withdrawal in the amount of approximately $480.00 from an ATM located in Brooklyn, New

York, using a Key Bank debit card issued in the name of one of the Victims.

                     (h)    On or about March 12, 2021 , SMITH made a cash withdrawal in

the amount of approximately $800.00 from an ATM located in Brooklyn, New York, using a

Key Bank debit card issued in the name of one of the Victims.

                     (i)    On or about April 28, 2021 , JAMES made a cash withdrawal in

the amount of approximately $4 70.00 from an ATM located in Brooklyn, New York, using a

Key Bank debit card issued in the name of one of the Victims.

                     U)     On or about June 8, 2021, HEYWARD made a cash withdrawal

in the amount of approximately $480.00 from an ATM located in Brooklyn, New York,

using a Key Bank debit card issued in the name of one of the Victims.

                     (k)    On or about August 24, 2021 , DESIR made a cash withdrawal

in the amount of approximately $480.00 from an ATM located in Brooklyn, New York,

using a Key Bank debit card issued in the name of one of the Victims.

              (Title 18, United States Code, Sections 1029(b)(2) and 3551 et seq.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 10 of 19 PageID #: 157




                          COUNTS THREE THROUGH THIRTEEN
                                 (Access Device Fraud)

               20.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               21.    In or about and between March 2020 and October 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants ROMEAN BROWN, TYREK CLARKE, KENNITH DESIR, STEPHAN

DORMINVIL, KAI HEYWARD, KEITH JAMES, CHRISTOPHER JEAN PIERRE,

ONEAL MARKS, JAHRIAH OLIVIERRE, ROLEEKE SMITH and CHRISTOPHER

TOPEY, together with others, as set forth in the chart below, did knowingly and with intent

to defraud effect transactions, with one or more unauthorized access devices issued to one or

more other persons, to wit: debit cards, dates of births and Social Security numbers, in a

manner affecting interstate commerce, and by such conduct did receive payments and things

of value aggregating $1 ,000 or more during any one-year period.

                     COUNT               DEFENDANT
                     THREE               ROMEAN BROWN
                     FOUR                TYREK CLARKE
                     FIVE                KENNITH DESIR
                     SIX                 STEPHAN DORMINVIL
                     SEVEN               KAI HEYWARD
                     EIGHT               KEITH JAMES
                     NINE                CHRISTOPHER JEAN PIERRE
                     TEN                 ONEAL MARKS
                     ELEVEN              JAHRIAH OLIVIERRE
                     TWELVE              ROLEEKE SMITH
                     THIRTEEN            CHRISTOPHER TOPEY

               (Title 18, United States Code, Sections 1029(a)(5), 1029(c)(l)(A)(ii), 2 and

3551 et~.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 11 of 19 PageID #: 158


                                                                                             11


                                      COUNT FOURTEEN
                                    (Aggravated Identity Theft)

               22.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               23.    In or about and between March 2020 and October 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant ROMEAN BROWN, together with others, during and in relation to the crimes

charged in Counts One, Two and Three, did knowingly and intentionally transfer, possess

and use, without lawful authority, one or more means of identification of one or more

persons, knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et~-)

                                       COUNT FIFTEEN
                                    (Aggravated Identity Theft)

               24.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               25.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant TYREK CLARKE, together with others, during and in relation to the crimes

charged in Counts One, Two and Four, did knowingly and intentionally transfer, possess and

use, without lawful authority, one or more means of identification of one or more persons,

knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et seq.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 12 of 19 PageID #: 159


                                                                                             12

                                      COUNT SIXTEEN
                                   (Aggravated Identity Theft)

               26.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               27.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant KENNITH DESIR, together with others, during and in relation to the crimes

charged in Counts One, Two and Five, did knowingly and intentionally transfer, possess and

use, without lawful authority, one or more means of identification of one or more persons,

knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

1028A(c)(5), 2 and 3551 et seq.)

                                     COUNT SEVENTEEN
                                   (Aggravated Identity Theft)

               28 .   The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               29.    In or about and between March 2020 and October 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant STEPHAN DORMINVIL, together with others, during and in relation to the

crimes charged in Counts One, Two and Six, did knowingly and intentionally transfer,

possess and use, without lawful authority, one or more means of identification of one or

more persons, knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

1028A(c)(5), 2 and 3551 et~-)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 13 of 19 PageID #: 160


                                                                                              13


                                      COUNT EIGHTEEN
                                    (Aggravated Identity Theft)

                30.    The allegations contained in paragraphs one through 14 are realleged

 and incorporated as if fully set forth in this paragraph.

                31.    In or about and between March 2020 and October 2021 , both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant KAI HEYWARD, together with others, during and in relation to the crimes

 charged in Counts One, Two and Seven, did knowingly and intentionally transfer, possess

 and use, without lawful authority, one or more means of identification of one or more

 persons, knowing that the means of identification belonged to other persons.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et seq.)

                                      COUNT NINETEEN
                                    (Aggravated Identity Theft)

                32.    The allegations contained in paragraphs one through 14 are realleged

 and incorporated as if fully set forth in this paragraph.

                33 .   In or about and between March 2020 and October 2021, both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant KEITH JAMES, together with others, during and in relation to the crimes charged

 in Counts One, Two and Eight, did knowingly and intentionally transfer, possess and use,

 without lawful authority, one or more means of identification of one or more persons,

 knowing that the means of identification belonged to other persons.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et~.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 14 of 19 PageID #: 161


                                                                                              14

                                       COUNT TWENTY
                                    (Aggravated Identity Theft)

               34.     The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               35.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant CHRISTOPHER JEAN PIERRE, together with others, during and in relation to

the crimes charged in Counts One, Two and Nine, did knowingly and intentionally transfer,

possess and use, without lawful authority, one or more means of identification of one or

more persons, knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et seq.)

                                     COUNT TWENTY-ONE
                                    (Aggravated Identity Theft)

               36.    The allegations contained in paragraphs one through 14 are realleged

and incorporated as if fully set forth in this paragraph.

               37.    In or about and between March 2020 and October 2021 , both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant ONEAL MARKS, together with others, during and in relation to the crimes

charged in Counts One, Two and Ten, did knowingly and intentionally transfer, possess and

use, without lawful authority, one or more means of identification of one or more persons,

knowing that the means of identification belonged to other persons.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et seq.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 15 of 19 PageID #: 162


                                                                                               15

                                        COUNT TWENTY-TWO
                                       (Aggravated Identity Theft)

                38.     The allegations contained in paragraphs one through 14 are realleged

 and incorporated as if fully set forth in this paragraph.

                39.     In or about and between March 2020 and October 2021 , both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant JAHRIAH OLIVIERRE, together with others, during and in relation to the crimes

 charged in Counts One, Two and Eleven, did knowingly and intentionally transfer, possess

 and use, without lawful authority, one or more means of identification of one or more

 persons, knowing that the means of identification belonged to other persons.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et filill.)

                                   COUNT TWENTY-THREE
                                   (Aggravated Identity Theft)

                40.     The allegations contained in paragraphs one through 14 are realleged

 and incorporated as if fully set forth in this paragraph.

                41.     In or about and between March 2020 and October 2021 , both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant ROLEEKE SMITH, together with others, during and in relation to the crimes

 charged in Counts One, Two and Twelve, did knowingly and intentionally transfer, possess

 and use, without lawful authority, one or more means of identification of one or more

 persons, knowing that the means of identification belonged to other persons.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et seq.)
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 16 of 19 PageID #: 163


                                                                                                16

                                    COUNT TWENTY-FOUR
                                    (Aggravated Identity Theft)

                42.     The allegations contained in paragraphs one through 14 are realleged

 and incorporated as if fully set forth in this paragraph.

                43.     In or about and between March 2020 and October 2021 , both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant CHRISTOPHER TOPEY, together with others, during and in relation to the

 crimes charged in Counts One, Two and Thirteen, did knowingly and intentionally transfer,

 possess and use, without lawful authority, one or more means of identification of one or

 more persons, knowing that the means of identification belonged to other persons.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 1028A(c)(5), 2 and 3551 et~-)

              CRIMINAL FORFEITURE ALLEGATION AS TO COUNT ONE

                44.     The United States hereby gives notice to the defendants that, upon their

 conviction of the offense charged in Count One, the government will seek forfeiture in

 accordance with Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United

 States Code, Section 2461 (c), which require any person convicted of such offense to forfeit

 any property, real or personal, constituting, or derived from, proceeds obtained directly or

 indirectly as a result of such offense.

                45.    If any of the above-described forfeitable property, as a result of any act

 or omission of the defendants:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 17 of 19 PageID #: 164


                                                                                                17

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                      (e)      has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21 , United States Code, Section 853(p),

to seek forfeiture of any other property of the defendants up to the value of the forfeitable

property described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(l)(C); Title 21 , United States

Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                         CRJMINAL FORFEITURE ALLEGATION
                       AS TO COUNTS TWO THROUGH THIRTEEN

               46.    The United States hereby gives notice to the defendants charged in

Counts Two through Thirteen that, upon their conviction of any such offenses, the

government will seek forfeiture in accordance with: (a) Title 18, United States Code, Section

982(a)(2)(B), which requires any person convicted of such offenses to forfeit any property

constituting, or derived from, proceeds obtained directly or indirectly as a result of such

offense; and (b) Title 18, United States Code, Section 1029(c)(l)(C), which requires any

person convicted of such offenses to forfeit any personal property used or intended to be

used to commit the offenses.

               47.    If any of the above-described forfeitable property, as a result of any act

or omission of the defendants:

                      (a)      cannot be located upon the exercise of due diligence;

                      (b)      has been transferred or sold to, or deposited with, a third party;
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 18 of 19 PageID #: 165


                                                                                                 18

                       (c)    has been placed beyond the jurisdiction of the court;

                       (d)    has been substantially diminished in value; or

                       (e)    has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

as incorporated by Title 18, United States Code, Sections 982(b)(1) and 1029(c)(2), to seek

forfeiture of any other property of the defendants up to the value of the forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Sections 982(a)(2)(B), 982(b)(l), 1029(c)(l)(C)

and 1029(c)(2); Title 21, United States Code, Section 853(p))


                                                                  A TRUE BILL




 REON PEACE
  ITED STAT S ATTORNEY
EASTERN DISTRICT OF NEW YORK
Case 1:22-cr-00087-DG Document 63 Filed 03/03/22 Page 19 of 19 PageID #: 166


 F.#202 1R00179
 FORM DBD-34           No.
 JUN. 85


                             UNITED STATES DISTRICT COURT
                                       EASTERN District of NEW YORK
                                               CRIMINAL DIVISION

                                 THE UNITED STATES OF AMERICA
                                                             vs.

                                               ROMEAN BROWN, et al. ,
                                                                                    Defendants.

                                                 INDICTMENT
                        (T. 18, U.S.C. , §§ 98l(a)(l)(C), 982(a)(2)(B), 982(b)(l), 1028A(a)(l),
                            1028A(b), 1028A(c)(4), 1028A(c)(5), 1029(a)(5), 1029(b)(2),
                        1029(c)(l)(A)(ii), 1029(c)(l)(C), 1029(c)(2), 1349, 2 and 3551 et~.;
                                  T. 21 , U.S.C., § 853(p); T. 28, U.S .C., § 246l(c))




                       Filed in open court this _________________ day,

                       of ____________ A. D. 20 _ __ _ _


                                                                                            Clerk


                       Bail, $


                          Robert Polemeni and Michael W. Gibaldi, Assistant U.S. Attorneys
                                               (718) 254-6044/6067
